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                                                               February 19, 2016

  Via ECF
  Hon. Steven I. Locke, U.S.M.J.
  U.S. Courthouse
  100 Federal Plaza, Courtroom 820
  Central Islip, NY 11722

                   Re:               Siancas et al. v. Exclusive Detailing Inc. et al.
                                     Docket No.: 2:14-cv-6151

  Dear Judge Locke:

          This office represents defendants in the above referenced matter. As the Court is aware,
  this matter is scheduled for a Settlement Conference before Your Honor on February 23, 2016 at
  2:00 p.m. In furtherance of same, the parties are required to submit an ex parte settlement
  position to the Court twenty-four (24) hours prior to the conference. We respectfully submit this
  correspondence as notice to the Court that, in light of this lawsuit and the numerous other
  lawsuits recently filed against the defendants, our client has been forced into seeking Bankruptcy
  protection pursuant to 11 U.S. Code Chapter 7.

          In good faith, our client diligently sought alternatives to filing for Bankruptcy, but their
  present state of financial affairs renders them incapable of defending these lawsuits or meeting
  their other outstanding financial obligations. The anticipated filing date is Monday, February 22,
  2016. As such, it is respectfully submitted that an appearance at the Settlement Conference
  scheduled for Monday, February 22, 2016 would be moot, pursuant to the Bankruptcy protection
  afforded under 11 U.S.C. 362(a)(1). If the court requires, I can be available by phone if needed
  for the above conference. Thank you for your consideration and courtesies.

                                                                                Respectfully submitted,

                                                                                Michael K. Chong
                                                                                Michael K. Chong, Esq.

  MKC/
  cc:  Steven Moser, Esq. (Plaintiff's counsel)
       James McGrath, Esq. (Co-Defendants' counsel)
